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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 In Re: Oil Spill by the Oil Rig “Deepwater                  MDL No. 2179
        Horizon” in the Gulf of Mexico, on         *
        April 20, 2010                             *         SECTION: J
                                                   *
 This Document Relates to:                         *         JUDGE BARBIER
 No. 13-6360                                       *
 No. 13-6362                                       *         MAG. JUDGE WILKINSON
                                                   *


                        ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff Christine Reitano has moved to dismiss all claims against BP Exploration and

Production Inc. and Patrick A. Juneau with prejudice. Defendants BP Exploration and Production

Inc. and Patrick A. Juneau have consented to dismissal with prejudice. The Court has considered

the motion and concludes that Plaintiff’s claims should be dismissed with prejudice, with each

party to bear its own costs, fees, and expenses.



       IT IS THEREFORE ORDERED that case No. 13-6360 and No. 13-6362 and all claims

brought by Plaintiff against BP Exploration and Production Inc. and Patrick A. Juneau are hereby

DISMISSED with prejudice to the re-filing of same. All costs, fees, and expenses relating to this

litigation (including attorney and expert fees and expenses) shall be borne solely by the party

incurring such costs. This is a final judgment.


     New Orleans, Louisiana this 12th day of December, 2017.




                                                       United States District Judge



NOTE TO CLERK: Enter in 10-md-2179, 13-6360, and 13-6362
